       Case 14-06499-hb                  Doc 57 Filed 10/14/15 Entered 10/14/15 11:28:06                                           Desc Ch 7
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FORM B9A (Chapter 7 Individual or Joint Debtor No Asset Case) (12/12)                                                    Case Number 14−06499−hb
                                        UNITED STATES BANKRUPTCY COURT
                                               District of South Carolina
 Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
A bankruptcy case concerning the debtor(s) listed below was originally filed on 11/14/14 and was converted to a case under
chapter 7 on 10/2/15.
You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect
your rights. All documents filed in the case may be inspected at the Bankruptcy Clerk's Office at the address listed below.
NOTE: The staff of the Bankruptcy Clerk's Office cannot give legal advice.
             Creditors − Do not file this notice in connection with any proof of claim you submit to the court.
                                  See Reverse Side For Important Explanations.
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
George Thomas Sluder Jr.
aka George T Sluder Jr., aka George Sluder Jr.,
aka George Tommy Sluder Jr.
105 Water Hickory Way
Columbia, SC 29229
Case Number:                                                                  Social Security / Individual Taxpayer ID / Employer Tax ID /
14−06499−hb                                                                   Other Nos:
                                                                              xxx−xx−8510
Attorney for Debtor(s) (name and address):                                    Bankruptcy Trustee (name and address):
James E. Hinson                                                               Robert F. Anderson
Meredith Law Firm                                                             P.O. Box 76
1901 Assembly Street, Suite 360                                               Columbia, SC 29202−0076
Columbia, SC 29201                                                            Telephone Number: (803) 252−8600
Telephone Number: 803−451−5000

                                                          Meeting of Creditors:
                      Date: November 13, 2015                                      Time: 11:00 AM
                                                        Location:
        U.S. Trustee's Office, Room 557, Strom Thurmond Federal Building, 1835 Assembly Street, Columbia, SC 29201

                                 Presumption of Abuse under 11 U.S.C. § 707(b)
                                         See "Presumption of Abuse" on reverse side.
   Insufficient information has been filed to date to permit the clerk to make any determination concerning the presumption of
       abuse. If more complete information, when filed, shows that the presumption has arisen, creditors will be notified.

                                                                    Deadlines:
                          Papers must be received by the Bankruptcy Clerk's Office by the following deadlines:

 Deadline to File a Complaint Objecting to Discharge of the Debtor or to Determine Dischargeability of Certain Debts:
                                                       1/12/16
                                                     Deadline to Object to Exemptions:
                                       Thirty (30) days after the conclusion of the meeting of creditors.

                                        Creditors May Not Take Certain Actions
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the debtor's property.
Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the Court to extend or impose a stay.
If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be penalized. Consult a lawyer to determine your rights
in this case.

       Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
                            Creditor with a Foreign Address:
A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at
This Time" on the reverse side.
Mailing Address of the Bankruptcy Clerk's Office:                                                   FILED BY THE COURT ON:
United States Bankruptcy Court
J. Bratton Davis United States Bankruptcy Courthouse                                                          10/14/15
1100 Laurel Street                                                                                      Laura A. Austin, Clerk
Columbia, SC 29201−2423                                                                                 U.S. Bankruptcy Court
Telephone Number: 1−803−765−5436
www.scb.uscourts.gov
Public Business Hours: 9:00 AM − 5:00 PM                                      Date: 10/14/15
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                                                                EXPLANATIONS                                                              FORM B9A (12/12)
Filing of Chapter 7       A bankruptcy case under chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this Court by or
Bankruptcy Case           against the debtor(s) listed on the front side, and an order for relief has been entered.
Legal Advice              The staff of the Bankruptcy Clerk's Office cannot give legal advice. Consult a lawyer to determine your rights in this case.
                        Prohibited collection actions are listed in Bankruptcy Code § 362. Common examples of prohibited actions include contacting
Creditors Generally May the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or obtain property from the
Not Take Certain        debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures; and garnishing or deducting from the
Actions                 debtor's wages. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can
                        request the Court to extend or impose a stay.
                          If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of the
Presumption of Abuse
                          Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances.
                          A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses in a joint
Meeting of Creditors      case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors are welcome to
                          attend, but are not required to do so. The meeting may be continued and concluded at a later date without further notice.
                          There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a proof of claim
                          at this time. If it later appears that assets are available to pay creditors, you will be sent another notice telling you that you may
Do Not File a Proof of
                          file a proof of claim , and telling you the deadline for filing your proof of claim. If this notice is mailed to a creditor at a foreign
Claim at This Time
                          address, the creditor may file a motion requesting the Court to extend this deadline.
                          Do not include this notice with any filing you make with the court.
                          The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may be prohibited
                          from collecting the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under Bankruptcy
                          Code § 727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code § 523, you must commence an
Discharge of Debts:       adversary proceeding against the debtor −− or file a motion if you assert the discharge should be denied under § 727(a)(8) or
                          (a)(9) −− by the "Deadline to File a Complaint Objecting to Discharge of the Debtor or to Determine Dischargeability of Certain
                          Debts" listed on the front side of this notice. The Bankruptcy Clerk's Office must receive the complaint and any required filing
                          fee by that deadline.
                          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed to creditors.
                          The debtor must file a list of all property claimed as exempt. You may inspect that list at the Bankruptcy Clerk's Office. If you
Exempt Property:
                          believe that an exemption claimed by the debtor is not authorized by law, you may file an objection to that exemption. The
                          Bankruptcy Clerk's Office must receive the objection by the "Deadline to Object to Exemptions" listed on the front side.
                          Any pleading or document that you file in this bankruptcy case should be filed at the Bankruptcy Clerk's Office at the address
Bankruptcy Clerk's        listed on the front side. Certain parties are required to electronically file documents pursuant to the orders of this Court. You
Office                    may view the public record of this case, including the list of the debtor's property and debts and the list of the property claimed
                          as exempt, at the Bankruptcy Clerk's Office.
Creditor with a Foreign
                          Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this case.
Address
                                            −− Refer to Other Side for Important Deadlines and Notices −−
                          This case may be dismissed without further notice or hearing should the debtor fail to comply with SC LBR 1017−2 (providing
Dismissal Notice
                          for dismissal for a failure to: pay the applicable filing fee, file or provide documents, or attend the meeting of creditors).
                          The Voice Case Information System (VCIS) will give status information on cases filed or converted after 11/30/88. Call
                          1−866−222−8029. Please refer to the Court's web site at www.scb.uscourts.gov for further information.
Miscellaneous Notice
                                Chapter 7 cases: Property of the estate may be abandoned by the trustee at the meeting of creditors unless creditors or
                          parties in interest object to SC LBR 6007−1.
